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      Attorneys for Plaintiff
11    Securities and Exchange Commission
12
                            UNITED STATES DISTRICT COURT
13
                          CENTRAL DISTRICT OF CALIFORNIA
14
                                        Southern Division
15
16      SECURITIES AND EXCHANGE                    Case No. 8:20-cv-00124-DOC-JDE
        COMMISSION,
17                                                 PLAINTIFF’S RULE 41(a)(1)(A)
                    Plaintiff,                     NOTICE OF VOLUNTARY
18                                                 DISMISSAL OF DEFENDANT
19            vs.                                  GREEN ACRES PHARMS, LLC
20      GUY SCOTT GRIFFITHE, et al.
21                  Defendants, and
22      SONJA MARIE RUSSELL,
23                  Relief Defendant.
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 1          Plaintiff Securities and Exchange Commission (“Commission”), pursuant to Rule
 2    41(a)(1)(A) of the Federal Rules of Civil Procedure, hereby files this Notice of Voluntary
 3    Dismissal of its claims against Defendant Green Acres Pharms, LLC (“GAP”). GAP has
 4    not filed an Answer to the Commission’s Complaint in this case. The Commission
 5    recently has received confirmation that GAP has been dissolved as a legal entity.
 6    Accordingly, the Commission deems it in the interests of justice to dismiss GAP from
 7    this case.
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 9                                           Respectfully submitted,
10
11                                            /s/ Duane K. Thompson
      ___________________                     Duane K. Thompson
12
                                              HelenAnne Listerman
13                                            Counsel for Plaintiff
                                              Securities and Exchange Commission
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17    Dated: March 18, 2021
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     Case 8:20-cv-00124-DOC-JDE Document 61 Filed 03/18/21 Page 3 of 4 Page ID #:304




 1                                   PROOF OF SERVICE
 2    I am over the age of 18 years and not a party to this action. My business address is:
 3          U.S. SECURITIES AND EXCHANGE COMMISSION,
            100 F Street, NE, Washington, DC 20549, Telephone No. (202) 551-7159;
 4          Facsimile No. (202) 772-9246.
 5    On March 18, 2021, I caused to be served the document entitled PLAINTIFF’S
      NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT GREEN ACRES
 6    PHARMS, LLC on all the parties to this action addressed as stated on the attached
      service list:
 7
      ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
 8    collection and mailing today following ordinary business practices. I am readily
      familiar with this agency’s practice for collection and processing of correspondence
 9    for mailing; such correspondence would be deposited with the U.S. Postal Service on
      the same day in the ordinary course of business.
10
            ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
11    which I personally deposited with the U.S. Postal Service. Each such envelope was
      deposited with the U.S. Postal Service at Los Angeles, California, with first class
12    postage thereon fully prepaid.
13          ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
      regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
14    Angeles, California, with Express Mail postage paid.
15    ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
      office of the addressee as stated on the attached service list.
16
      ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
17    by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
      deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
18    Los Angeles, California.
19    ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to
      the electronic mail address as stated on the attached service list.
20
      ☒    E-FILING: By causing the document to be electronically filed via the Court’s
21    CM/ECF system, which effects electronic service on counsel who are registered with
      the CM/ECF system.
22
      ☐     FAX: By transmitting the document by facsimile transmission. The
23    transmission was reported as complete and without error.
24          I declare under penalty of perjury that the foregoing is true and correct.
25     Date: March 18, 2021                      /s/ Duane K. Thompson
26                                               DUANE K. THOMPSON
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 1                        SEC v. GUY SCOTT GRIFFITHE, et al.
                United States District Court—Central District of California
 2                          Case No. 8:20-cv-00124-DOC-JDE
 3                                    SERVICE LIST
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                  Suite 202
 7                Newport Beach, CA 92660
                  ralph@shiff-shelton.com
 8                Attorneys for Defendants Guy Scott Griffithe
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